Case 23-01577-5-DMW       Doc 33 Filed 08/24/23 Entered 08/24/23 11:28:43       Page 1 of 2



  SO ORDERED.

 SIGNED this 24 day of August, 2023.




                                                         ____________________________________
                                                         David M. Warren
                                                         United States Bankruptcy Judge
 ______________________________________________________________________

                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             WILMINGTON DIVISION

IN RE:

TSR, LLC                                                       CASE NO: 23-01577-5-DMW

           DEBTOR                                              CHAPTER 7


         ORDER GRANTING MOTION FOR EXAMINATION PURSUANT TO
                       BANKRUPTCY RULE 2004


         THIS MATTER is before the Court on the Motion of John C. Bircher III, Chapter
 7 Trustee (“Trustee”), directing Justin William LaNasa ("LaNasa") to appear for an
 examination under oath, as set forth below:
         1.     The above-captioned bankruptcy case is pending in the Eastern District
 of North Carolina.
         2.     Trustee seeks to examine LaNasa regarding a broad range of
 financial issues related to the Debtor.
         3.     Federal Rule of Bankruptcy Procedure 2004 provides that the Court
 may order the examination of any entity on motion of any party-in-interest. Fed. R.
 Bankr. P. 2004(a). The examination may relate to acts, conduct, or property or to the
 liabilities and financial condition of the Debtor, or to any matter which may affect the
 administration of the Debtor's estate. The examination may also relate to the
 operation of any business and the desirability of its continuance, the source of any
Case 23-01577-5-DMW      Doc 33 Filed 08/24/23 Entered 08/24/23 11:28:43       Page 2 of 2




 money or property acquired or to be acquired by the Debtor for purposes of ultimate
 distribution to creditors and the consideration given or offered therefore, and any
 other matter relevant to the case. Fed. R. Bankr. P. 2004(b).
       4.     Federal Rule of Bankruptcy Procedure 9016 makes Rule 45 of the
 Federal Rules of Civil Procedure applicable to this bankruptcy case such that a
 Subpoena may be issued by the Court to require production of documents and to
 compel the attendance of witnesses to give testimony. Fed. R. Bankr. P. 9016.
       5.     The Trustee seeks information concerning (i) the acts, conduct, property,
 liabilities and financial condition of the Debtor; (ii) any matter which may affect the
 administration of the Debtor's estate; (iii) any other matter relevant to the case.
       6.      Trustee further requests that LaNasa be ordered to appear for
 examination under oath September 26, 2023, beginning at 10:00 a.m., at the law
 offices of Hendren Redwine & Malone, PLLC, 4600 Marriott Drive, Suite 150,
 Raleigh, North Carolina, 27612 or at such other date, time and place as the parties
 mutually may agree.
              THEREFORE, LaNasa is ordered to appear and submit to examination
 under oath September 26, 2023, beginning at 10:00 a.m., at the law offices of Hendren
 Redwine & Malone, PLLC, 4600 Marriott Drive, Suite 150, Raleigh, North Carolina,
 27612 or at such other date, time and place as the parties mutually may agree.


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